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10   Attorneys For Plaintiffs Dell Inc. and Dell Products L.P.

11                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION

13   In re: CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION
14                                                    Master File No. 3:07-cv-05944-SC (N.D. Cal.)
     This Document Relates to Individual Case No.     MDL No. 1917
15
     3:13-cv-02171-SC
16

17   DELL INC. and DELL PRODUCTS L.P.,

18          Plaintiffs,                               Individual Case No. 3:13-cv-02171-SC

19          v.
                                                      DECLARATION OF DEBRA D.
20   HITACHI, LTD., et al.,                           BERNSTEIN IN SUPPORT OF
                                                      PLAINTIFFS DELL INC. AND DELL
21          Defendants.                               PRODUCTS L.P.’S BRIEF IN
                                                      OPPOSITION TO THE TOSHIBA
22                                                    DEFENDANTS’ MOTION TO DISMISS

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     DECL. OF DEBRA D. BERNSTEIN ISO                                                 No. 3:13-cv-02171-SC
     DELL’S OPPOSITION TO TOSHIBA’S MOTION TO DISMISS                                       MDL No. 1917
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 1           I, DEBRA D. BERNSTEIN, declare as follows:

 2           1.       I am a partner with the law firm of Alston & Bird LLP, counsel for Plaintiffs Dell Inc.

 3   and Dell Products L.P. (collectively, “Dell”) in the above-captioned action currently pending in the

 4   U.S. District Court for the Northern District of California. I submit this Declaration in support of

 5   Dell’s Brief in Opposition to the Toshiba Defendants’ Motion to Dismiss. I have personal knowledge

 6   of the facts stated herein, and I could and would competently testify thereto if called as a witness.

 7           2.       I am a member in good standing of the State Bar of Georgia and am admitted to practice

 8   before the U.S. District Court for the Northern District of Georgia. Pursuant to the Court’s Pretrial

 9   Order No. 1 in the MDL Proceeding, I have been admitted pro hac vice in this litigation.

10           3.       On November 6, 2009, the Indirect Purchaser Plaintiffs (IPPs) served a Rule 45

11   Subpoena on Dell, requesting, among other things, data reflecting Dell’s purchases of CRT Products.

12           4.       Dell produced data in response to that request in October 2010. This data described

13   Dell’s purchases of CRT Products, including the entities from which Dell purchased CRT Products.

14           5.       On October 3, 2012, Defendant Samsung SDI served two Rule 45 Subpoenas on Dell.

15   Dell has been providing information in response to those Subpoenas since November 2012.

16           6.       Before Dell became a party to the MDL, Defendants and other third parties produced

17   data describing their sales (and purchases) of CRTs and/or CRT Products. Some of this data identifies

18   sales to Dell.

19           7.       Because this discovery was produced in the MDL, then-parties (like Toshiba) had

20   access to this data. As a non-party, however, Dell did not have access to this data.

21           8.       Dell and other Direct Action Plaintiffs have served discovery on all Defendants

22   regarding their ownership or control relationship with CRT Product manufacturers, including CRT

23   Product manufacturers that sold monitors to Dell. The evidence obtained thus far demonstrates close

24   corporate relationships between Dell’s suppliers of CRT Products and certain Defendants.

25           9.       In early September 2013, Albie Lau, counsel for Toshiba, drafted a stipulation regarding

26   a briefing schedule for potential forthcoming motions to dismiss Dell’s First Amended Complaint

27   (“FAC”).

28           10.      Attached hereto as Exhibit A is a true and correct copy of an email from Mr. Lau to

                                                 -2-
     DECL. OF DEBRA D. BERNSTEIN ISO                                                        No. 3:13-cv-02171-SC
     DELL’S OPPOSITION TO TOSHIBA’S MOTION TO DISMISS                                              MDL No. 1917
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 1   counsel for Dell, Sharp, and Tech Data, dated September 16, 2013.

 2           11.    In his September 16, 2013, email, Mr. Lau wrote that certain Defendants desired to

 3   move to dismiss the complaints “on the basis of Illinois Brick.” Mr. Lau also wrote that “[r]ather than

 4   briefing this issue, [defendants] propose resolving this issue in the attached stipulation.”

 5           12.    Based on this representation and others made during the negotiation of the stipulation

 6   that was entered by the Court on October 1, 2013, Dell understood that Defendants were not planning

 7   to file motions to dismiss on Illinois Brick. Accordingly, Dell agreed to enter the October 1, 2013,

 8   stipulation.

 9           I declare under penalty of perjury under the laws of the United States of America that the

10   foregoing is true and correct.

11           Executed on November 6, 2013, in Atlanta, Georgia.

12

13   DATED: November 6, 2013                By: /s/ Debra D. Bernstein
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     DECL. OF DEBRA D. BERNSTEIN ISO                                                         No. 3:13-cv-02171-SC
     DELL’S OPPOSITION TO TOSHIBA’S MOTION TO DISMISS                                               MDL No. 1917
